Case 7:19-cv-07307-VB Document 70

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

JEFFREY S. SEIGEL,
Plaintiff,

----X

Vv.

STRUCTURE TONE ORGANIZATION;
PAVARINI NE CONSTRUCTION CO.;
ROBERT YARDIS; and
MICHAEL MELANOPHY,

Defendants.

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ORDER REGARDING
SEALED DOCUMENTS

19 CV 7307 (VB)

The Court So-Ordered the parties’ Stipulation and Protective Order, dated October 20,
2020, which, among other things, provides for the filing of documents under seal, it is further

ORDERED:

1. The parties shall consult and comply with the instructions for filing documents under
seal, as set forth in: (i) Section 6 of the Court’s Electronic Case Filing Rules &
Instructions; (ii) the Court’s “Sealed Records Filing Instructions,” available at
https://nysd.uscourts.gov/programs/records; and (iii) Judge Briccetti’s Individual

Practices.

2. A full and unredacted courtesy copy of any submission of documents electronically
filed under seal shall be provided to Chambers as soon as practicable, marked
“Chambers Copy” and “Contains Confidential Information Filed Under Seal.”

Dated: October 20, 2020
White Plains, NY

SO ORDHREN:

 

Vincent L. Briccetti
United States District Judge
